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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:04CR316
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
RICHARD GARZA,                               )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant's motion for a reduction of his

sentence (Filing No. 289).

      IT IS ORDERED:

      1.     The Defendant's motion for a reduction of his sentence (Filing No. 289) is

             denied; and

      2.     The Clerk is directed to mail a copy of this order to the Defendant at his last

             known address.

      DATED this 20th day of September, 2011.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
